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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                        Criminal No.: 07-278 (PAM/AJB) - 1
     _____________________________________________________________________

UNITED STATES OF AMERICA,                    |
                                             |
                     Plaintiff,              |
                                             |     ORDER TO FILE
v.                                           |     Rule 35 MEMORANDUM
                                             |     UNDER SEAL
JAFARI TYWAN BANKS,                          |
                                             |
                                             |
                 Defendant
_____________________________________________________________________

        This matter is before the Court on Defendant’s Motion for an Order to File his Rule

35 Memorandum Under Seal. Therefore,

        IT IS HEREBY ORDERED that Defendant Jafari Tywan Banks’ Rule 35

Memorandum is filed under seal.

Dated: May 13, 2010



                                                 s/Paul A. Magnuson
                                                 PAUL A. MAGNUSON
                                                 United States District Court Judge
